 

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

 

 
    

 

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UNITED STATES OF AMERICA,

 

 

 

.D.N.Y. - APPEALS

Plaintiff,

Vv.

GHISLAINE MAXWELL, 20-CR-330 (AJN)
Defendant.

 

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NOTICE OF APPEAL

PLEASE TAKE NOTICE that Ghislaine Maxwell, Defendant in the above-captioned
case, hereby appeals to the United States Court of Appeals for the Second Circuit from the
district court’s September 2, 2020, Memorandum Opinion and Order denying her motion to
modify the protective order. Pichler v. UNITE, 585 F.3d 741, 746 n.6 (3d Cir. 2009) (“We have
jurisdiction under the collateral order doctrine to review the denial of the motion to modify the
Protective Order and the denial of the motion to reconsider.”); Minpeco S.A. v. Conticommodity
Servs., Inc., 832 F.2d 739, 742 (2d Cir. 1987) (denial of motion to modify protective order is
immediately appealable under the collateral order doctrine) (citing Cohen v. Beneficial Industrial
Loan Corp., 337 U.S. 541, 545-47 (1949)); see also Brown vy. Maxwell, 929 F.3d 41, 44 (2d Cir.
2019) (appeal by intervenors challenging denial of motions to modify protective order and

unseal).

Dated: September 3, 2020.

 
 
 
   

Respectfully submitted, 0)
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Attorneys for Ghislaine Maxwell
 

CERTIFICATE OF SERVICE

I certify that on September 3, 2020, I filed this Notice of Appeal with the Clerk of Court
by mail pursuant to Section 17 of the CM/ ECF Rules and served all parties of record by email.

/s/ Nicole Simmons

 
 
 

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September 3, 2020

VIA OVERNIGHT DELIVERY

Southern District of New York

Court Clerk’s Office

500 Pearl Street

New York, NY 10007-13122

Re: | US v. Maxwell, Case No. 20 cr. 330 (AJN) Notice of Appeal

Dear Clerk of Court:

Attached hereto is the Notice of Appeal for filing and a check in the amount of $505.00
for the docketing and processing fees.

If you have any questions, please feel free to call me at the phone number referenced
above.

Very truly yours,

Nucole Simmene

Nicole Simmons

Enclosures
 

 

 

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